    Case 3:19-cv-00040-NKM Document 1 Filed 07/12/19 Page 1 of 7 Pageid#: 1
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                                                       Counsel for Faulconer Construction
                                                       Company, Inc.




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